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11
12                        IN THE UNITED STATES DISTRICT COURT
13                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14     FEDERAL TRADE COMMISSION                  Case No. SACV 19-02109 JVS (ADSx)
15
            Plaintiff                            Assigned to Hon. James V. Selna
16                                               Courtroom 10C
17     v.
                                                 DEFENDANT OLIVER POMAZI’S
18     AMERICAN FINANCIAL SUPPORT                JOINDER IN DEFENDANTS CAREY G.
       SERVICES INC., et al.                     HOWE, RUDDY PALACIOS,
19                                               AND SHUNMIN HSU’S (1)
20          Defendants                           PRELIMINARY OPPOSITION TO OSC
                                                 AND (2) OBJECTION AND MOTION
21                                               TO STRIKE
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                                           JOINDER
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 1          Defendant Oliver Pomazi, 20% owner of Arete Financial Group and Arete Financial
 2 Group LLC, by and through his undersigned counsel, hereby joins Carey G. Howe, Ruddy
 3 Palacios, and Shunmin Hsu’s (1) Preliminary Opposition to OSC Why Injunction Should
 4 Not Issue and (2) Request to Extend the Deadline to File the Instant Responsive Pleading
 5 and Enlarge the Brief Page Limit to 30 Pages [Dkt. 49], as well as Carey G. Howe, Ruddy
 6 Palacios, and Shunmin Hsu’s Objection and Motion to Strike Supplemental Declaration of
 7 Lauren France, PX27, and Attachments [Dkt. 59].
 8          Mr. Pomazi reserves the right to amend or supplement this Joinder, based upon any
 9 facts or arguments that become available or come to light prior to or at the hearing on these
10 issues.
11
12      Dated: November 15, 2019                BIENERT | KATZMAN PC
13
14
                                                By:
15
                                                      Thomas H. Bienert, Jr.
16                                                    Ariana Seldman Hawbecker
                                                      Ali Matin
17
                                                      Attorneys for Defendant
18                                                    Oliver Pomazi
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                                             JOINDER
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 1                                 CERTIFICATE OF SERVICE
 2           I, Carolyn K. Howland, declare that I am a citizen of the United States and am
 3 employed in Orange County, California; my business address is 903 Calle Amanecer, Suite
 4 350, San Clemente, California 92673; I am over the age of 18 and not a party to the above-
 5 entitled action. I am employed by a member of the United States District Court, and at
 6 whose direction I caused service of the following document on all parties in this action via
 7 the method of service described below.
 8            DEFENDANT OLIVER POMAZI’S JOINDER IN DEFENDANTS CAREY G.
 9             HOWE, RUDDY PALACIOS, AND SHUNMIN HSU’S (1) PRELIMINARY
               OPPOSITION TO OSC AND (2) OBJECTION AND MOTION TO STRIKE
10
11 [X] BY ELECTRONIC TRANSMISSION: by electronically filing the foregoing with
       the Clerk of the District Court using its CM/ECF System pursuant to the Electronic
12     Case Filing provision of the United States District Court General Order and the E-
13     Government Act of 2002, which electronically notifies said parties in this case:

14      Stephen Fairchild                              Thomas McNamara
15      Richard McKewen                                Edward Chang
        Federal Trade Commission                       Sanjay Bhandari
16      915 2nd Avenue, Suite 2896                     McNamara Smith LLP
17      Seattle, WA 98174                              655 W. Broadway, Suite 1600
        sfairchild@ftc.gov                             San Diego, CA 92101
18      rmckewen@ftc.gov                               echang@mcnamarallp.com
19                                                     sbhandari@mcnamarallp.com

20      Robert Quigley
        Federal Trade Commission
21
        10990 Wilshire Blvd, Suite 400
22      Los Angeles, CA 90024
        rquigley@ftc.gov
23
24
25           I declare under penalty of perjury under the laws of the United States of America
26 that the foregoing is true and correct. Executed on November 15, 2019, at San Clemente,
27 California.
28                                                    ___________________________
                                                      Carolyn K. Howland
                                                1
                                     CERTIFICATE OF SERVICE
